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                                                                                                  CLEAR FORM




                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER:
 In the Disciplinary Matter of
DARLENE MARIE RICKER                                                              MC-10-129 ABC



 California State Bar No.:
                                                                        ORDER TO SHOW CAUSE
                              151653                                    (ATTORNEY DISCIPLINE)


          This Court has received notice that

          G        the Supreme Court of California has disbarred from the practice of law the above-referenced
                   attorney effective                                             .

          G        the Supreme Court of California has suspended from the practice of law the above-referenced
                   attorney effective                                             .

          G        the State Bar Court has suspended from the practice of law the above-referenced attorney for not
                   passing the professional responsibility exam effective                                        .

          G        the above-referenced attorney has been suspended by the State Bar Court following a criminal
                   conviction until further order of the court effective                                     .

          ✔
          G        the above-referenced attorney has resigned with charges pending as a member of the State Bar of
                   California and that the resignation has been accepted by the Supreme Court of California effective
                   February 28, 2010                                            .

          G        the above-referenced attorney has enrolled as an involuntary inactive member of the State Bar of
                   California with a case(s) pending in this Court. As a result of the enrollment, the above-referenced
                   attorney is ineligible to practice law effective                                                  .

          G        the Supreme Court of California has suspended from practice of law the above-referenced attorney
                   for noncompliance with G Rule 9.22 (Child & Family Support) G Rule 9.31 Continuing Legal
                   Education of the California Rules of Court effective                                          .

          G        Other:




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             Therefore, the above-referenced attorney is hereby ordered to show cause, in writing within 30 days
                                                                           ✔suspended from the practice of law
     of the date of this order, why he or she should not be G disbarred or G
     before this Court, pursuant to Rule 83-3.2 of the Local Rules for the Central District of California.

             IT IS FURTHER ORDERED, that if the above-referenced attorney does not contest the imposition
     of G disbarment or G   ✔suspension from this Court or does not respond to the order to show cause within
     the time specified, the Court shall issue an order of G disbarment or G  ✔suspension effective 30 days from
     the date of this order to show cause. A response to this order to show cause must make the showing
     required in Local Rule 83-3.2. In addition, the above-referenced attorney must produce at the time the
     response to the order to show cause is filed a certified copy of the entire record from the other jurisdiction
     or bear the burden of persuading the Court that less than the entire record will suffice.

             The response to the order to show cause and other documentation shall be filed, electronically or
     manually, at the U.S. Courthouse, 312 N. Spring Street, Room G-8, Los Angeles, California 90012, Attn:
     Civil Intake. The response to the order to show cause and other documentation filed must include the case
     number in the caption. Unless stated otherwise by order of the Court, the above-referenced attorney who
     has been G disbarred or G    ✔ suspended from the Bar of this Court because of a G disbarment or G
     suspension or G✔ resignation with charges pending                    by G✔the Supreme Court of California
     or G by                                                      will be reinstated upon proof of reinstatement
                                                 ✔
     as an active member in good standing of G the State Bar of California or G


             An attorney registered to use the Court’s Electronic Case Filing System (ECF) who is G disbarred
        ✔ suspended by this Court will not have access to file documents electronically until the attorney is
     or G
     reinstated by the State Bar of California and reinstated to the Bar of this Court.

            This Order to Show Cause is being served pursuant to Federal Rule of Civil Procedure 5 to the
     above-referenced attorney’s current address as on file with the State Bar of California.


      DATE: March 26, 2010




                                                                          Audrey B. Collins
                                                                   Chief United States District Judge



                                                           G
                                                           Acting Chief United States District Judge




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